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Appearing Attorney for Plaintiff
Danny Gallagher

                 IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAI`I

 DANNY GALLAGHER,                       Civil No. 18-00364 LEK-KJM

             Plaintiff,                 WITHDRAWAL AND
     vs.                                SUBSTITUTION OF COUNSEL
                                        AND ORDER; CERTIFICATE OF
 MATERNITYWISE                          SERVICE
 INTERNATIONAL, LLC; ANNE
 CROUDACE; ELIZBETH                     Trial: July 12, 2021
 ANOATUBBY; EMILEE SALDAYA;
 RACHEL BROWN; JENNA
 CHIDESTER; STEPHANIE
 GILBERT; JORDAN ASHLEY
 HOCKER; BETHANY KIRILLOVA;
 SAMANTHA LAJOIE; AERIN
 LUND; KATE PAVLOVSKY;
 CHANNA JAYDE WALZ;
 MADDISON WEIKLE; ESME
 WHRITENOUR; NICOLETTE
 RAYMOND; ELIZABETH
 GEFTAKYS; JULIE BELL; CARA
 GWIZD; HOLLY LEPPARD-
 WESTHAVER; ELOISE VICTORIA;
 JANE DOE ONE; JANE DOE TWO;
 JANE DOE THREE; DOES 1-10,
 INCLUSIVE,

             Defendants.
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     WITHDRAWAL AND SUBSTITUTION OF COUNSEL AND ORDER

   Utzurrum Law Offices, A.P.C. hereby withdraws as counsel for Plaintiff Danny

Gallagher. With the Court’s permission and pursuant to LR83.5, MK Law LLC

hereby enters its appearance of counsel for Plaintiff.

      DATED:       Honolulu, Hawai`i, March 10, 2021.

                                               V-RH8W]XUUXP
                                              JOE UTZURRUM
                                              Withdrawing Attorney for Plaintiff
                                              DANNY GALLAGHER

                                              /s/ Megan K. Kau
                                              MEGAN K. KAU
                                              Appearing Attorney for Plaintiff
                                              DANNY GALLAGHER


   PLAINTIFF’S CONSENT:

   ___________________
   Danny Gallagher

                                              APPROVED AND SO ORDERED:


                                              JUDGE OF THE ABOVE-
                                              ENTITLED COURT


                                                    /s/ Leslie E. Kobayashi
                                                    Leslie E. Kobayashi
                                                    United States District Judge




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                 IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAI`I


 DANNY GALLAGHER,                          Civil No. 18-00364 LEK-KJM

              Plaintiff,                   CERTIFICATE OF SERVICE
     vs.

 MATERNITYWISE
 INTERNATIONAL, LLC; ANNE
 CROUDACE; ELIZBETH
 ANOATUBBY; EMILEE SALDAYA;
 RACHEL BROWN; JENNA
 CHIDESTER; STEPHANIE
 GILBERT; JORDAN ASHLEY
 HOCKER; BETHANY KIRILLOVA;
 SAMANTHA LAJOIE; AERIN
 LUND; KATE PAVLOVSKY;
 CHANNA JAYDE WALZ;
 MADDISON WEIKLE; ESME
 WHRITENOUR; NICOLETTE
 RAYMOND; ELIZABETH
 GEFTAKYS; JULIE BELL; CARA
 GWIZD; HOLLY LEPPARD-
 WESTHAVER; ELOISE VICTORIA;
 JANE DOE ONE; JANE DOE TWO;
 JANE DOE THREE; DOES 1-10,
 INCLUSIVE,

              Defendants.


                             CERTIFICATE OF SERVICE

   The undersigned hereby certifies that a copy of the foregoing document was

duly served on the following parties via the method listed.
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       Plaintiff
       DANNY GALLAGHER




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            DATED: Honolulu, Hawai`i, March 10, 2021.


                                          /s/ Megan K. Kau
                                          MEGAN K. KAU
                                          Appearing Attorney for Plaintiff
                                          DANNY GALLAGHER




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